  Case 1:18-cr-00410-LMB Document 57 Filed 01/08/19 Page 1 of 4 PageID# 317



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
v.                                   )       Case No. 1:18-cr-410
                                     )
                                     )
SEITU SULAYMAN KOKAYI,               )       Hearing Date: 1/18/19
                                     )
      Defendant.                     )       The Honorable Leonie M. Brinkema
____________________________________)



        MOTION FOR REVIEW OF DETENTION AND PRE-TRIAL RELEASE

       COMES NOW, Defendant, Seitu Sulayman Kokayi (hereinafter “Mr. Kokayi”), by

counsel, pursuant to 18 U.S.C. §3145(B), and moves this Court, on January 18, 2019, at 9:00

a.m., or as soon thereafter as counsel may be heard, to enter an Order releasing him, under

whatever conditions the Court deems suitable. In support thereof, Mr. Kokayi states as follows

upon information and belief:

       1.      Mr. Kokayi is charged with two counts of violating 18 U.S.C. §2422(b) (Coercion

and Enticement of a Minor), and one count of violating 18 U.S.C. §1470 (Transfer of Obscene

Material to a Minor).

       2.      On August 22, 2018, Mr. Kokayi was taken into custody, and has been held in the

Alexandria Adult Detention Center since that time.

       3.      Mr. Kokayi is 29 years old and has no criminal record, and no prior court

involvement.

       4.      Mr. Kokayi is a United States citizen. He was born in Washington, D.C., and



                                                1
  Case 1:18-cr-00410-LMB Document 57 Filed 01/08/19 Page 2 of 4 PageID# 318



resided there his whole life until his marriage to Tara Mohammed, approximately five years ago.

After their marriage, Mr. Kokayi and his wife moved to Alexandria, Virginia, where they

remained until the time of Mr. Kokayi’s arrest.

        5.     The couple have a two year old daughter, and Mrs. Mohammed is currently

pregnant with their second child.

        6.     Shortly after Mr. Kokayi’s arrest, Mrs. Mohammed moved in with her parents, at

7518 Greer Drive, in Fort Washington, Maryland (20744). That address is where Mr. Kokayi

would reside upon his release.

        7.     At the time he was arrested, Mr. Kokayi had been working at the University of

Maryland University College (“UMUC”) since in and around 2009 and held the position of IT

content developer. His responsibilities included maintaining their “content management system”

that supported the online educational structure there. While it is not clear if he could be

reinstated, Mr. Kokayi would have potential employment opportunities based on his

undergraduate degree in computer sciences, obtained from UMUC.

        8.     Mr. Kokayi had also been teaching classes on the weekends relating to the Koran

since in and around 2010 at Hijra Foundation in Washington, D.C.

        9.     As noted above, Mrs. Mohammed is currently pregnant. She is due to deliver the

couple’s second child in early February, 2019, in and around the date on which the trial was

originally scheduled.

        10.    Just recently on January 4, 2019, based on the Government’s request and over Mr.

Kokayi’s objection, the Court continued the trial in this case from February 5, 2019 to April 8,

2019.


                                                  2
  Case 1:18-cr-00410-LMB Document 57 Filed 01/08/19 Page 3 of 4 PageID# 319



           11.    Naturally, it would be vitally important for Mr. Kokayi to be available for the

delivery of his second child, and the post-natal care thereafter.

           12.    Further, upon information and belief, the government opposes Mr. Kokayi’s

release in part based on a familial connection to Abdullah El Faisal (a.k.a. Shaikh Abdullah

Faisal). Mr. Faisal is being held in Jamaican custody and awaiting extradition to the United

States based on allegations of activities in support of terrorism. Mr. Kokayi’s mother, Nzingha

Kokayi, married Mr. Faisal sometime in 2015.

           13.    However, Ms. Kokayi has been estranged from Mr. Faisal for nearly a year, and

she returned to the United States on a permanent basis in January, 2018. It is believed that she

has had no contact with Mr. Faisal since that time, and intends to initiate divorce proceedings

shortly.

           WHEREFORE, based on the foregoing, the defendant respectfully asks this Court to

enter an Order releasing him pending trial, to reside at the residence indicated above, under

whatever conditions the Court deems suitable.



                                                        Respectfully submitted,

                                                        SEITU SULAYMAN KOKAYI
                                                        By Counsel

________/s/__________
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  Case 1:18-cr-00410-LMB Document 57 Filed 01/08/19 Page 4 of 4 PageID# 320



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                               CERTIFICATE OF SERVICE

       I hereby certify that on or before the 8th day of January, 2019, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to the following:

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_________/s/___________________
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